                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA,

                            Plaintiff,
                                                                 Case No. 04-CR-56
              -vs-

QASIM A. BOKHARI,

                            Movant.


                               DECISION AND ORDER


       After pleading guilty to a variety of offenses, including mail fraud and money

laundering, the Court sentenced Qasim Bokhari (“Bokhari”) to a 63-month term of

imprisonment. Now before the Court is a letter from Bokhari styled as a “Motion for

Sentence Adjustment.” Bokhari requests a 6 month reduction in his sentence because the

Bureau of Prisons is refusing to allow him to serve the last ten (10) percent of his sentence

in a halfway house or other community custody program. According to Bokhari, this refusal

is on account of him being a deportable alien.

       The manner in which Bokhari captioned his motion suggests that he wants to proceed

under the general habeas statute, 28 U.S.C. § 2241. However, a challenge to the rules used

to calculate the amount of time a federal inmate is allowed to spend in a Community

Corrections Center (“CCC”) cannot be brought under § 2241. See Richmond v. Scibana, 387

F.3d 602, 605-06 (7th Cir. 2004). Such a claim must be brought under the Administrative

Procedures Act (“APA”), 5 U.S.C. § 551 et seq.

   Case 2:04-cr-00056-RTR        Filed 03/31/08    Page 1 of 2     Document 142
       The Court cannot convert this motion into a claim under the APA because of the many

different requirements imposed upon prisoner civil litigation. See, e.g., Copus v. Edgerton,

96 F.3d 1038 (7th Cir. 1996). For example, it is apparent from the face of Bokhari’s motion

that he did not exhaust his administrative remedies, see 28 U.S.C. § 1997e(a). Therefore,

Bokhari’s motion will be denied and Bokhari will not be afforded the opportunity pursue a

claim under the APA at this time. See Richmond, 387 F.3d at 605 (“If he were to stick with

§ 2241, the petition would have to be dismissed because § 2241 is the wrong section; if he

were to elect the APA, the petition would have to be dismissed under § 1997e(a) for failure

to exhaust administrative remedies”).

       NOW, THEREFORE, BASED ON THE FOREGOING, IT IS HEREBY

ORDERED THAT Bokhari’s motion for sentence adjustment [D. 141] is DENIED.

       Dated at Milwaukee, Wisconsin, this 31st day of March, 2008.

                                                  SO ORDERED,


                                                  s/ Rudolph T. Randa
                                                  HON. RUDOLPH T. RANDA
                                                  Chief Judge




                                            -2-

   Case 2:04-cr-00056-RTR       Filed 03/31/08     Page 2 of 2    Document 142
